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EXHIBIT “A”

Case 7:13-cv-09239-CS-VR Document 255-1 ‘Filed 06/14/18 Page 2 of 21

IN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

Case No.: HC/S 175/2018 Between

Filed: 19-February-2018 11:56 PM 1. THE WAVE STUDIO PTE. LTD. (formerly known as
Hearing Date : 27-March-2018 THE WAVE DESIGN PTE. LTD.)

Hearing Time : 9:00 AM (Singapore UEN No. 200508995G)

Hearing Type : Pre-Trial Conference

Attend Before: Registrar 2. Lee Kar Yin

(NRIC No. 86970349F)

3, THE WAVE STUDIO, LLC
(United States Registration No. 4137603)

..Plaintiff(s)

And

i, GENERAL HOTEL MANAGEMENT (SINGAPORE)
PTE LTD
(Singapore UEN No. 199103054D)

2. GENERAL HOTEL MANAGEMENT, LTD
(British Virgin Islands Registration No. 891 UF0500H)

3, PERIPLUS EDITIONS (HK) LIMITED
(ID UEN No) |

4, PAGE ONE PUBLISHING PTE LTD
(Singapore VEN No, 199301815N)

5. EDITIONS DIDIER MILLET PTE LTD (formerly
known as ARCHIPELAGO PRESS PTE LTD)
(Singapore UEN No. 199003441M)

6. WEGO PTE. LTD. (formerly known as BEZURK PTE.
LTD.)
(Singapore UEN No, 200506074G)

7, CHAN BROTHERS TRAVEL (PTE) LIMITED
{Singapore UEN No, 1967002872)

8. TRADEWINDS TOURS & TRAVEL PRIVATE
LIMITED
(Singapore EN No, 199201264R)

9, -AGIP LLC
(ID UEN No.)

10. ASIATRAVEL,COM HOLDINGS LTD
(Singapore UEN No, 199907534E)

Il, AAE TRAVEL PTE. LTD.
(Singapore UEN No. 201113337M)

Case 7:13-cv-09239-CS-VR Document 255-1 ‘Filed 06/14/18 Page 3 of 21

12. CIVIL AVIATION AUTHORITY
(D Unknown)

13. EBAY INTERNATIONAL AG
(ID UEN No.)

14. CHAN TAT HON
(NRIC No. 86807922E)

15, SPH MAGAZINES PTE. LTD.
(Singapore UEN No, 196900476M)

16. Hotels In Asia
(ID Unknown)

17. ADVANCECOM CORPORATION PTE. LTD.
(Singapore UEN No. 200721052C)

18. LAO AIRLINES STATE ENTERPRISE SINGAPORE
BRANCH
(Singapore UEN No, TITFC0145K)

19, SINGAPORE AIRLINES LIMITED
(Singapore UEN No, 197200078R)

20. Malaysian Airlines System Sdn Bhd
(ID UEN No.)

21. MARVELE GROUP PTE, LTD.
(Singapore VEN No, 201113499)

22, TRAVELOGY.COM PTE, LTD,
(Singapore VEN No. 201015770N)

23, GOQUO PTE. LTD.
(Singapore UEN No. 201319574E)

24, ZUJI TRAVEL PTE. LTD.
(Singapore UEN No, 200408565G)

25, NOTO CHRISTOPHER PAUL
(NRIC No. 87179258G)

26. PAGODA HOUSE GALLERY PTE, LTD,
(Singapore UEN No. 200816888H)}

27. CAERUS PTE, LTD,
(Singapore VEN No. 200808373D}

. Defendant(s)

WRIT OF SUMMONS

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To:

1, GENERAL HOTEL MANAGEMENT (SINGAPORE) PTE LTD
32 Gilstead Road Singapore 309075

2, GENERAL HOTEL MANAGEMENT, LTD
Craigmuir Chambers Road Town British Virgin Islands

3, PERIPLUS EDITIONS (Hit) LIMITED
RM 1005 10/F FAR EAST FINANCE CTR 16 HARCOURT RD Hong Kong SAR

4, PAGE ONE PUBLISHING PTE LTD
20 KAKI BUKIT VIEW Singapore 415956

5, EDITIONS DIDIER MILLET PTE LTD
6001 BEACH ROAD #14-07 GOLDEN MILE TOWER Singapore 199589

6. WEGO PTE, LTD.
100 BEACH ROAD #23-07 SHAW TOWERS Singapore 189702

7, CHAN BROTHERS TRAVEL (PTE) LIMITED
150 SOUTH BRIDGE ROAD #07-01 FOOK HAI BUILDING Singapore 058727

8. TRADEWINDS TOURS & TRAVEL PRIVATE LIMITED
25 AIRLINE ROAD AIRLINE HOUSE Singapore 819829

9, AGIP LLC
The Offices at Central World 27 Floor 999/9 Rama I Road Patumwan Bangkok 10330 TH Thailand

10. ASIATRAVEL.COM HOLDINGS LTD
11 LORONG 3 TOA PAYOH #04-18 JACKSON SQUARE Singapore 319579

11, AAE TRAVEL PTE. LTD.
8 MARINA BOULEVARD #05-02 MARINA BAY FINANCIAL CENTRE Singapore 018981

12, CIVIL AVIATION AUTHORITY
60 Airport Blvd Singapore 819643

13. EBAY INTERNATIONAL AG
Helvetiastrasse 15/17 Bern 3005 Switzerland

14. CHAN TAT HON
131 SERANGOON AVENUE 3 #08-18 CHILTERN PARK CONDOMINIUM Singapore 556112

15, SPH MAGAZINES PTE, LTD,
1000 TOA PAYOH NORTH NEWS CENTRE Singapore 318994

16. Hotels In Asia
1 Jalan Berseh Singapore 209037

17, ADVANCECOM CORPORATION PTE. LTD.
155 KALLANG WAY #02-15 Singapore 349244

18, LAO AIRLINES STATE ENTERPRISE SINGAPORE BRANCH
60 AIRPORT BOULEVARD #B16-011 CHANGI ATRPORT TERMINAL 2 Singapore 819643

Case 7:13-cv-09239-CS-VR Document 255-1 ‘Filed 06/14/18 Page 5of 21

19. SINGAPORE AIRLINES LIMITED
25 AIRLINE ROAD AIRLINE HOUSE SINGA Singapore 819289

20. Malaysian Airlines System Sdn Bhd
3/F Admin Bldg 1 MAS Complex Sultan Abdul Aziz Shah Airport Subang Jaya 47200 Malaysia

21, MARVELE GROUP PTE. LTD.
17 KAKI BUKIT CRESCENT #04-00 KAKI BUKIT TECHPARK I Singapore 416248

22, TRAVELOGY.COM PTE, LTD.
25 INTERNATIONAL BUSINESS PARK #03-08 GERMAN CENTRE Singapore 609916

23, GOQUO PTE. LTD.
51 GOLDHILL PLAZA #07-10 Singapore 308900

24. ZUH TRAVEL PTE. LTD.
238A THOMSON ROAD #12-06 NOVENA SQUARE Singapore 307684

25. NOTO CHRISTOPHER PAUL
60 KIM SENG ROAD #1 1-07 TRIBECA Singapore 239497

26, PAGODA HOUSE GALLERY PTE, LTD.
15 BEACH ROAD #02-118 BEACH CENTRE Singapore 189677

27. CAERUS PTE. LTD,
8 Eu Tong Sen Street #14-94 The Central Singapore 059818

THIS WRIT OF SUMMONS has been issued against you in respect of the claim endorsed herein,

You must:
1. satisfy the claim; or
2. enter an appearance,

within 8 days after the service of this Writ, failing which, the Plaintiff{s) may proceed with the action and
enter judgment against you without further notice.

THIS WRIT OF SUMMONS is issued by the solicitors for the Plaintiff{s) whose particulars are as below.
The address(es) of the Plaintiff(s) is/are 46 South Bridge Road #04-02 Kingly Building Singapore 058679, 42
Eastwood Road #01-12 Eastwood Regency Singapore 486398, One Barker Avenue #542 White Plains New
York United States.

Solicitor(s) for the Ist , 2nd and 3rd Plaintiff{s)

ELDAN LAW LLP

1 Coleman Street #08-03 The Adelphi
Singapore 179803

Tel No.: 68378100

Fax No: 63366547

Email:

File Ref No.: (Plaintiff) WL/WSH/1004819
File Ref No.: (2nd Plaintiff) 1004819

Case 7:13-cv-09239-CS-VR Document 255-1 ‘Filed 06/14/18 Page 6of 21

File Ref No.: Grd Plaintiff) 1004819
Solicitor in charge: 1, WENDY LOW WEI LING,
2. WONG SIEW HONG

NeCUSUTS DRS HOSTS! BATTS] ISN INST T3/TObR HORA TAA HOLST TS Daly

VINCENT HOONG
REGISTRAR
SUPREME COURT
SINGAPORE

ENDORSEMENT OF CLAIM

1. The Plaintiffs are the owners of the copyrights comprised in various literary and artistic works including
photographs and marketing collaterals for a number of luxury hotels and resorts around the world
(hereinafter collectively, “the Works”).

2. The Ist and 2nd Defendants had by themselves and/or through their servants and agents, infringed and
continue to infringe the Plaintiffs’ copyrights in the Works.

3. In addition, the Ist and 2nd Defendants had authorized the 3rd to 27th Defendants to infringe the
Plaintiffs’ copyrights in the Works, to wit, by publishing and making available the works to the public without
the licence and consent of the Plaintiffs,

a, Pending further discovery and/or interrogatories, the 3rd to Sth Defendants had made a total of 89
infringing publications and/or reproductions of the Plaintiffs’ Works on the Defendants’ Publications.
Schedule 1 sets out briefly, the description of the infringed Works in the Defendants’ Publications
{collectively “the Defendants’ Pubiications”).

b, Pending further discovery and/or interrogatories, the 6th to 27th Defendants had infringed the Plaintiffs’
copyrights in the Works by publishing and/or making available the Works on the Internet by reproducing the
Plaintiffs’ photographic Works on various websites and servers controlled by the 6th to 27th Defendants.
Schedule 2 sets out briefly, the description of the infringed Works in the Defendants’ web sites
(collectively “the Defendants’ Web Sites”). Pending further discovery and/or interrogatories, the 6th to 27th
Defendants had made a total of 39,358 infringing reproductions of the Plaintiffs’ works on the Defendants’
Websites.

4, Uniess restrained by this Honourable Court, the Defendants will infringe and/or intend fo continue to
infringe the Plaintiffs’ copyright in the Plaintiffs’ Works and the Plaintiffs will suffer loss and/or damage.
5. The Plaintiffs claim against the Defendants —

a. An injunction, under Section 119(2)(a) of the Copyright Act (Cap, 63, Rey Ed, 2006) (hereinafter

the “Copyright Act”), against the Ist to 27th Defendants and their servants and agents from further
infringing the Plaintiffs’ copyrights in the Works;

b. Damages, under Section 119(2)(b) of the Copyright Act, against the 1st to 27th Defendants for
infringements of the Plaintiffs’ copyrights in the Works;

¢. Damages, under Section 119(2)(b) of the Copyright Act, against the Ist and 2nd Defendants for
authorizing the 3rd to 27th Defendants to infringe the Plaintiffs’ copyrights in the Works;

d. Alternatively,.an account of profits, under Section 119(2)(c) of the Copyright Act, against the ist to 27th
Defendants;

e. Alternatively, statutory damages, under Section 119(2}(d) of the Copyright Act, against the Ist to 27th
Defendants of $10,000 for each Work in respect of which the copyright has been infringed;

f, Additional damages, under Section 119(4) of the Copyright Act, against the Ist to 27th Defendants

Case 7:13-cv-09239-CS-VR Document 255-1 Filed 06/14/18 Page 7 of 21

because of the flagrancy of the infringements and the benefits that have accrued to the Defendants by
reason of their infringements of the Plaintiffs’ copyrights in the Works;

g. An order for delivery up, under Section 120 of the Copyright Act, of all infringing copies of the Works, or
any articles which have been used for making infringing copies of the Works, in the possession of the
Defendants to the Plaintiffs;

h, An order, under Section 120A of the Copyright Act, for the forfeiture to the Plaintiffs or the destruction of
any infringing copies of the Works, or any articles which have been used for making infringing copies of the
Works;

i. A signed statutory declaration by the Ist to 27th Defendants confirming that the Ist to 27th Defendants
and their servants and agents will not further infringe the Plaintiffs’ copyrights in the Works;

j. interest;

k. Costs; and

| Such further and/or other relief as this Honourable Court deems fit.

SCHEDULE 1

Publications:

S/N Publisher Defendants’ Publications Number of Infringements
1 Periplus Editions (Hong Kong) Ltd, Ultimate Spa 8

2 Page One Publishing Pte. Ltd. Hotels: Cool Designs 16

3 Page One Publishing Pte. Lid, Global Interior Design Collection vol. 2 16
4 Page One Publishing Pte, Ltd. Within Spas 6

5 Editions Didier Millet Pte. Ltd. India Chie 8

6 Editions Didier Millet Pte, Ltd. Malaysia Chic 13

7 Editions Didier Millet Pte. Ltd. Thailand Chic 3

8 Editions Didier Millet Pte. Ltd. Bali Chic 9

9 Editions Didier Millet Pte. Ltd. Spa Style Arabia 10

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SCHEDULE 2

Websites:

S/N Website Owner Defendants’ Web Sites Number of Infringements

1 Wego Pie. Ltd. wego.com and wego.co,in 4750

2 AGIP LLC agoda.com, agoda.net and agoda.web.id 28532

3 Chan Brothers Travel Pte. Lid. chanbrothers.com and chanbrothershotels.com
183

4 Tradewinds Tours & Travel Pte. Ltd. tradewindstours.com

il

5 Asiatravel.com Holdings Ltd. asiatravel.com

316

6 AAE Travel Pte Ltd expedia.com.sg, airasiago.com and asiawebdirect.com
820

7 Civil Aviation Authority of Singapore (CAAS} viasingapore.com

197

8 eBay International AG ebay.com.sg, ebay,com.my and ebay.com.ph

588

9 Chan, Tat Hong takemetoasia.com

67

10 SPH Magazines Pte Ltd luxury-insider.com,asiaone.com, relax.com.sg, herworldplus.com and
businesstimes.com.sg

28

11 Hotels in Asia hotelsinasia.com.sg

50

12 Advancecom Corporation Pte. Lid. hotelbookingsg.com

120

13 Lao Airlines laoairlines.com

2

14 Singapore Airlines Limited tigerairways.com, flyscoot.com, tigerair.com and siaholidays.com.au
666

15 Malaysian Airlines System SdnBhd (MAS) fireflyholiday.com and malaysiaairlines.com
83

16 Marvele Group Pte. Ltd. hotels.com.sg, getaways.com.sg and resorts.com.sg

112

17 Travelogy.com Pte. Ltd. tripzilla.com
120

18 GOQUO Pte. Ltd. goquo.com

25

19 Zuji Travel Pte. Ltd. zuji.com.hk, zuji.com.sg, zujicom and zuji.com.au
71

20 Caerus Pte’ Ltd. hotelsio.com

938

21 Christopher Noto christophernoto.com
17

22 Pagoda House Gallery Pte. Ltd. (owned by Christopher Noto) pagodahouse.com
1022

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Note:
1. This writ may not be served more than 6 calendar months after the above date unless renewed by

order of the Court.

2. To defend the claim, the Defendant(s) must enter an appearance(s) using the electronic filing service
either personally or by a solicitor at the Registry of the SUPREME COURT and notify the (Plaintifi{s) /
Plaintiff's solicitors} accordingly within 8 days after service hereof, otherwise judgment may be entered

against him without further notice.

Case 7:13-cv-09239-CS-VR Document 255-1 Filed 06/14/18 Page 10 of 21

iN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

Case No.: HC/S 175/2018 Between

Filed: 06-June-2018 09:56 AM 1, THE WAVE STUDIO PTE. LTD. (formerly known as
THE WAVE DESIGN PTE. LTD.)
(Singapore UEN No, 200508995G)

2, Lee Kar Yin
(NRIC No. 56970349F)

3. THE WAVE STUDIO, LLC
(United States Registration No. 4137603)

.-Plaintiff(s)
And

1. GENERAL HOTEL MANAGEMENT (SINGAPORE)
PTE LTD
(Singapore UEN No. 199103054D)

2. GENERAL HOTEL MANAGEMENT, LTD
(British Virgin Islands Registration No. S91UF0500H)

3. PERIPLUS EDITIONS (HK) LIMITED
(ID UEN No.)

4, PAGE ONE PUBLISHING PTE LTD
(Singapore UEN No. 199301815N)

5. EDITIONS DIDIER MILLET PTE LTD (formerly
known as ARCHIPELAGO PRESS PTE LTD)
(Singapore UEN No. 199003441M)

6. WEGO PTE. LTD. (formerly known as BEZURK PTE,
LTD.)
(Singapore VEN No. 200506074G)

’ 9. CHAN BROTHERS TRAVEL (PTE) LIMITED
(Singapore UEN No, 1967002872)

8. TRADEWINDS TOURS & TRAVEL PRIVATE
LIMITED
(Singapore UEN No. 199201264R)

9, AGIPLLC
(ID UEN No.)

10. ASIATRAVEL.COM HOLDINGS LTD
(Singapore UEN No. 199907534E)

11, AAE TRAVEL PTE. LTD.
{Singapore UEN No, 201113337M)

Case 7:13-cv-09239-CS-VR

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12.

13.

I4,

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22,

23,

24,

25,

26.

27.

28.

29,

CIVIL AVIATION AUTHORITY
(ID Unknown}

EBAY INTERNATIONAL AG
(ID UEN No.)

CHAN TAT HON
(NRIC No. $6807922E)

SPH MAGAZINES PTE. LTD.
(Singapore UEN No, 196900476M)

Hotels In Asia
(ID Unknown)

ADVANCECOM CORPORATION PTE. LTD.
(Singapore UEN No, 200721052C)

LAO AIRLINES STATE ENTERPRISE SINGAPORE
BRANCH
(Singapore UEN No. T11FCO145K)

SINGAPORE AIRLINES LIMITED
(Singapore UEN No. 197200078R)

Malaysian Airlines System Sdn Bhd
(ID UEN No.)

MARVELE GROUP PTE. LTD.
(Singapore UEN No. 201113499E)

TRAVELOGY.COM PTE. LTD.
(Singapore EN No, 201015770N)}

GOQUO PTE. LTD.
(Singapore JEN No. 201319574E)}

ZUIJL TRAVEL PTE. LTD.
(Singapore UEN No. 200408565G)

NOTO CHRISTOPHER PAUL
(NRIC No, 87179258G)

PAGODA HOUSE GALLERY PTE, LTD.
(Singapore UEN No. 200816888H)

CAERUS PTE. LTD.
(Singapore UEN No. 200808373D)

Media Publishing Group Pte. Ltd.
(Singapore UEN No, 201010214G)

Tiger Airways Holdings Pte. Ltd.

Case 7:13-cv-09239-CS-VR Document 255-1 Filed 06/14/18

(Singapore UEN No. 200701866W)

30. Singapore Press Holdings Limited
(Singapore UEN No. 198402868E)

Page 12 of 21

31. Scoot Tigerair Pte, Ltd, (formerly known as Tiger

Airways Pte. Ltd.)
(Singapore UEN No. 200312665 W)

32, Zuji Pty Lid

{Australia Registration No, 18096920866)

33, ebay Inc.
CD Unknown)

34. High Options Sda Bhd
(ID Unknown)

WRIT OF SUMMONS
(Amendment No. 1, Pursuant to Order 20, Rule 1)

To:

1, GENERAL HOTEL MANAGEMENT (SINGAPORE) PTE LTD
32 Gilstead Road Singapore 309075

2, GENERAL HOTEL MANAGEMENT, LTD
Craigmuir Chambers Road Town British Virgin Islands

3, PERIPLUS EDITIONS (HK) LIMITED
RM 1005 10/F FAR EAST FINANCE CTR 16 HARCOURT RD Hong Kong SAR

4. PAGE ONE PUBLISHING PTE LTD
20 KAKI BUKIT VIEW Singapore 415956

5, EDITIONS DIDIER MILLET PTE LTD
600] BEACH ROAD #14-07 GOLDEN MILE TOWER Singapore 199589

6. WEGO PTE. LTD.
100 BEACH ROAD #23-07 SHAW TOWERS Singapore 189702

7. CHAN BROTHERS TRAVEL (PTE) LIMITED
150 SOUTH BRIDGE ROAD #07-01 FOOK HAI BUILDING Singapore 058727

8. TRADEWINDS TOURS & TRAVEL PRIVATE LIMITED
25 AIRLINE ROAD AIRLINE HOUSE Singapore 819829

9, AGIP LLC .

. Defendant(s)

The Offices at Central World 27 Floor 999/9 Rama I Road Patumwan Bangkok 10330 TH Thailand

10, ASIATRAVEL.COM HOLDINGS LTD
11 LORONG 3 TOA PAYOH #04-18 JACKSON SQUARE Singapore 319579

Case 7:13-cv-09239-CS-VR Document 255-1 Filed 06/14/18 Page 13 of 21

Il. AAE TRAVEL PTE. LTD.
8 MARINA BOULEVARD #05-02 MARINA BAY FINANCIAL CENTRE Singapore 018981

12. CIVIL AVIATION AUTHORITY
60 Airport Blvd Singapore 819643

13, EBAY INTERNATIONAL AG
Helvetiastrasse 15/17 Bern 3005 Switzerland

14. CHAN TAT HON
131 SERANGOON AVENUE 3 #08-18 CHILTERN PARK CONDOMINIUM Singapore 556112

15, SPH MAGAZINES PTE. LTD.
1000 TOA PAYOH NORTH NEWS CENTRE Singapore 318994

16. Hotels In Asia
1 Jalan Berseh Singapore 209037

17. ABVANCECOM CORPORATION PTE, LTD,
155 KALLANG WAY #02-15 Singapore 349244

18. LAO AIRLINES STATE ENTERPRISE SINGAPORE BRANCH
60 AIRPORT BOULEVARD #B 16-011 CHANGI AIRPORT TERMINAL 2 Singapore 819643

19, SINGAPORE AIRLINES LIMITED
25 AIRLINE ROAD AIRLINE HOUSE SINGA Singapore 819289

20. Malaysian Airlines System Sdn Bhd
3/F Admin Bidg 1 MAS Complex Sultan Abdul Aziz Shah Airport Subang Jaya 47200 Malaysia

21. MARVELE GROUP PTE. LTD.
17 KAKI BUKIT CRESCENT #04-00 KAKI BUKIT TECHPARK I Singapore 416248

22, TRAVELGGY.COM PTE. LTD.
25 INTERNATIONAL BUSINESS PARK #03-08 GERMAN CENTRE Singapore 609916

23. GOQUO PTE. LTD.
51 GOLDHILL PLAZA #07-10 Singapore 308900

24, ZUJI TRAVEL PTE. LTD.
238A THOMSON ROAD #12-06 NOVENA SQUARE Singapore 307684

25. NOTO CHRISTOPHER PAUL
60 KIM SENG ROAD #1 1-07 TRIBECA Singapore 239497

26. PAGODA HOUSE GALLERY PTE. LTD.
15 BEACH ROAD #02-118 BEACH CENTRE Singapore 189677

27, CAERUS PTE. LTD.
8 Eu Tong Sen Street #14-94 The Central Singapore 059818

28. Media Publishing Group Pte, Ltd.
3791 Jalan Bukit Merah #05-30 Singapore 159471

29. Tiger Airways Holdings Pte. Ltd.

Case 7:13-cv-09239-CS-VR Document 255-1 ‘Filed 06/14/18 Page 14 of 21

25 AirlineRoad Singapore 819829

30. Singapore Press Holdings Limited
1000 Toa Payoh North Singapore 318994

31. Scoot Tigerair Pte. Ltd.
25 Airline Road Singapore 819829

32, Zuji Pty Ltd
Level 2 509 St Kilda Rd Melbourne VIC 2004 Australia

33. ebay Inc.
2025 Hamilton Avenue San Jose California 95125 USA United States

34, High Options Sdn Bhd
Unit C-12-4 level 12 Block C Megan Avenue 11 12 Jalan Yap Kwan Seng 50450 Kuala Lumpur Wilayah
Persekutuan Malaysia

THIS WRIT OF SUMMONS has been issued against you in respect of the claim endorsed herein.

You must:
1, satisfy the claim; or
2. enter an appearance,

within 8 days after the service of this Writ, failing which, the Plaintiff(s) may proceed with the action and
enter judgment against you without further notice.

THIS WRIT OF SUMMONS is issued by the solicitors for the Plaintifi(s) whose particulars are as below.
The address(es) of the Plaintiffs) is/are 46 South Bridge Road #04-02 Kingly Building Singapore 058679, 42
Eastwood Road #01-12 Eastwood Regency Singapore 486398, One Barker Avenue #542 White Plains New
York United States.

Solicitor(s) for the Ist , 2nd and 3rd Plaintiffts)

ELDAN LAW LLP

1 Coleman Street #08-03 The Adeiphi
Singapore 179803

Tel No.: 68378100

Fax No.: 63366547

Email;

File Ref No.: (Plaintiff) WL/WSH/1004819
File Ref No.: (2nd Plaintiff) 1004819

File Ref No.: Grd Plaintiff) 1004819
Solicitor in charge: 1, WENDY LOW WEI LING,
2. WONG STEW HONG

lun tsi Hang

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Case 7:13-cv-09239-CS-VR Document 255-1 Filed 06/14/18 Page 15 of 21

VINCENT HOONG
REGISTRAR
SUPREME COURT
SINGAPORE

ENDORSEMENT OF CLAIM

1, The Plaintiffs are the owners_in Singapore and elsewhere, of the copyrights comprised in various literary
and artistic works including photographs and marketing collaterals for a number of luxury hotels and

resorts. anaged by the 1°! and/or 284 Defendants around the world (hereinafter collectively, “the
orks”),

2, The 15! and 2"4 Defendants had by themselves and/or through their servants and agents, infringed and
continue to infringe the Plaintiffs’ copyrights in the Works.

a. Pending discovery and/or interrogatories, the 15! and/or 224 Defendant had reproduced,

published and communicated 245 photographs comprised in the Plaintiffs’ Works in the yah
nd/or 2"* Defendant’s publication entitled “The Magazine” Issues | to 12 (collectively “the 1st

a
& 2™ Defendants’ Publications”) without the licence and consent of the Plaintiffs. The
descriptions of the infringed Works in the 15! & 284 Defendants” Publications are set out briefly in
Schedule I. The infringed Works in the 15! & gud Defendants’ Publications were also

reproduced, published and communicated in the 1°! and/or 28° Defendants’ website at
http:/Avww.ghmbotels.com/en/about- azine/ (“the GHM Website”).

b. Pending discovery and/or interrogatories, the 15‘ Defendant had authorized the 2"4 Defendant
to infringe the Plaintifts’ copyrigits in the Works by the matters pleaded in Paragraph 2(a) above.

c, Pending discovery and/or interrogatories, the 125 and 284 Defendants had also infringed the
Plaintifis’ copyrights in the Works in Singapore by, doing the following acts without the licence of

the Plaintiffs:

i, Importing the 15! & 224 Defendants’ Publications into Singapore for the purposes of
selling, letting for hire, or by way of trade offering or exposing for sale or hire and

exhibiting the same, distributing for purposes of trade and/or by way of trade exhibiting the
same in public:

ii, Selling, letting for hire, distributing or by way of trade offering or exposing for sale or
hire or exhibiting in public the 18! ¢ 24 Defendants’ Publications: and/or

iii, making available for download the 15! & 224 Defendants’ Publication through the
GHM Website:

where the 1°! and 224 Defendants knew or ought reasonably to have known, that the making of

the 15! & 284 Defendants’ Publication constituted an infringement of the Plaintiffs’ copyrights in
the Works, or in the case of importation, the making of the 151 & 284 Defendants’ Publication

was carried out without the consent of the Plaintiffs,

3-hraddition, thet and 3™ Defendants hacanthorized the 3 te 27" Befendantste-infringe the
Pint orto inthe Works: toni by nubtisia fe ‘atte so mirnge i

Case 7:13-cv-09239-CS-VR Document 255-1 Filed 06/14/18 Page 16 of 21

snout-the-t the Plaintiffs

a3. Pending further discovery and/or intertogatories, the 3" to 5" Defendants had reproduced and
ublished infringing copies of the Plaintiffs’ Works in 9 publications listed in Schedule 2 (collectively “the

gal to 5!" Defendants’ Publications Ss”). madeatotabof $+ inttingine publications amor reproductions of
the Plaintifis* Works onthe Defendants* Publications; Schedule 2+ sets out briefly, the description of the

infringed Works in the id to 5'® Defendants’ Publications ¢collectively “the Befendants* Publications”).

4, Further or alternatively, the 3! to 5 Defendants had also infringed the Plaintiffs’ copyrights in the
Works in Singapore by, doing the following acts without the licence ofthe Plaintiffs:

i. Importing the 3 to 5" Defendants’ Publications into Singapore for the purposes of
selling, letting for hire, or by way of trade offering or exposing for sale or hire and

‘exhibiting the same, distributing for purposes of trade and/or by way of trade exhibiting the
same in public; and/or

ii. Selling, letting for hire, distributing or by way of trade offering or exposing for sale or
hire or exhibiting in public the 34 to 5 Defendants’ Publications;

where the 3“ to 58 Defendants knew or ought reasonably to have known, that the making of the
3f to 5!" Defendants’ Publication constituted an infr ingement of the Plaintiffs’ copyrights in the

Works, or in the case of importation, the making of the 3¢ to 5! Defendants’ Publication was
carried out without the consent of the Plaintiffs.

b_5. Pending further discovery and/or interrogatories, the 6" to 34th -99¢ Defendants had inf inged the
Plaintiffs’ copyrights in the Works by reproducing, publishing, communicating, and/or making available the

Plaintiffs’ Works on tie Internetby reproducing the Plaintiffs” photographic Works on various websites
and servers controlled by the 6'8 to 34th 27*” Defendants. Schedule 32 sets out briefly, the description of
the infringed Works, in the Defendants’ web sites (collectively “the o to 34" Defendants’ Web
Sites”). Pending further discovery and/or interrogatories, the 6'" to 34th hah Defendants had made a

total of 39,365 39,358 infringing reproductions of the Plaintiffs’ Works on the 6 to 34" Defendants’
Web Sites.

476. Unless restrained by this Honourable Court, the Defendants will infringe and/or intend to continue to
infringe the Plaintiffs’ copyrights in the Plaintiffs’ Works and the Plaintiffs will suffer loss and/or damage.

5-7. The Plaintiffs claim-againstthe Defendants —
a. A declaration that the Plaintiffs are the owners of the copyrights comprised in the Works:

b,_A declaration that the Works have been infringed by the Defendants;

ex. An injunction, under Section 119(2)(a) of the Copyright Act (Cap. 63, Rev Ed. 2006) (hereinafter

the “Copyright Act”), against the 15" to 34th 99th Defendants and their officers, employees, servants
and agents from further infringing the Plaintiffs’ copyrights in the Works;

db, Damages, under Section 119(2)(b) of the Copyright Act, against the 15 to 34th 278 Defendants
for infringements of the PlaintiffS’ copyrights in the Works;

c- Damages; under Section +19(2)¢b} of the Copyright Act against the 1" and-2"* Defendants for
authorizing the 3*“to-27"*-Betendants to infiinge the Plaintiffs” copyrights in-the-Works;

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ed. Alternatively, at the Plaintiffs’ option, an account of profits from the Defendants, under Section 119{2)
(c) of the Copyright Act; against the 1°* to 34" h_gqth Defendants;

fe. Alternatively, at the Plaintiffs’ option, statutory damages against the Defendants, under Section 119(2)

(). of the Copyright Acrausperthet t-27"\Detonintrof SH G06 foreach Werk inrepetof

ef. Additional damages, under Section 119(4) of the Copyright Act, against the 15' to 34th -oqth
Defendants because of inter alia, the flagrancy of the infringements and the benefits that have accrued to

the Defendants by reason of their infringements of the Plaintiffs’ copyrights in the Works;

hf Against the 15! Defendant, damages for authorizing the 24 Defendant to infringe the Plaintiffs’
copyrights in the Works, under Section 119(2)¢b) of the Copyright Act;

ig. An order for delivery up, under Section 120 of the Copyright Act, of all infringing copies of the Works,
or any articles which have been used for making infringing copies of the Works, in the possession of the
Defendants to the Plaintiffs; .

jh. An order, under Section 120A of the Copyright Act, for the forfeiture to the Plaintiffs or the
destruction upon oath of any infringing copies of the Works, or any articles which have been used for
' making infringing copies of the Works;

ki A signed statutory declaration by the 15' to 34th -29*" Defendants confirming that the 15! to 34th -aqth
Defendants and their officers, employees, servants and agents will not further infringe the Plaintiffs’

copyrights in the Works;

i Interests;
mk, Costs; and

itt Such further and/or other relief as this Honourable Court deems fit.

SCHEDULE 1
Publications:
S/N Publisher 15.& 2"4 Defendants’ Number of the
~ Publications Plaintiffs’
Photographs
Reproduced In
The 15f@ 2m
Defendants’
Publications
i General Hotel Management Ltd, The Magazine: Issue | 35
2 General Hotel Management Ltd, ‘The Magazine: Issue 2 A0
3 General Hotel Management Ltd. The Magazine: Issue 3 36
4 General Hotel Management Ltd. The Magazine: Issue 4 27
5 General Hotel Management Ltd. The Magazine: Issue 5 32

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General Hotel Management Ltd. The Magazine: Issue 6 18
7 General Hote! Management Ltd. The Magazine: Issue 7 10
8 General Hotel Management Ltd, The Magazine: Issue 8 18
9 General Hotel Management Ltd. The Magazine: Issue 9 10
10 General Hotel Management Ltd, The Magazine: Issue 10 8
dil General Hotel Management Ltd. The Magazine: Issue 11 9
1? General Hotel Management Lid, The Magazine: Issue 12 2
SCHEDULE]
SCHEDULE 2
Publications:
S/N Publisher Publications Number-of
infringenrents
Number of the
Plaintifis’
Photographs
Reproduced In
the 3™ to sth
Defendants’
Publications
1 Periplus Editions (Hong Kong) Ltd. Ultimate Spa 8
2 Page One Publishing Pte, Ltd. Hotels: Cool Designs 16
3 Page One Publishing Pte, Ltd, Global Interior Design 16
Collection vol. 2
4 Page One Publishing Pte. Ltd. Within Spas 6
5 Editions Didier Millet Pte. Ltd. India Chic 8
6 Editions Didier Millet Pte. Ltd. Malaysia Chic 13
7 Editions Didier Millet Pte, Ltd, ‘Thailand Chic 3
8 Editions Didier Millet Pte. Ltd. Bali Chic 9
9 Editions Didier Millet Pte. Ltd. Spa Style Arabia 16

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SCHEDULE 3
Websites;
S/N Website Owner Website Number-of
tafringenrents
Number of the
Plaintiffs’
Photographs
Reproduced In
the 6!4to
34th Defendants’
Web Sites
1 Wego Pte. Ltd. Wwepo.com, Wego.cOm.sg, 4750
wego.co.id, wego.com.my,
wego.com.ph and wego.co.in 4749
2 AGIP LLC agoda.com, agoda.com.sg, 28532
agoda.com.my, agoda.com.cn,
agoda.net and agoda.web.id 28530
3 Chan Brothers Travel Pte. Ltd. | chanbrothers.com and +83
chanbrothershotels.com
186
4 Tradewinds Tours & Travel tradewindstours.com 11
Pte. Ltd.
5 Asiatravel.com Holdings Lid, asiatravel.com 316
6 AAE Travel Pte Ltd expedia.com.sg, airasiago,com 820
firefiyholiday.com and
asiawebdirect.com 841
7 Civil Aviation Authority of viasingapore,com 197
Singapore (CAAS)
8 eBay Intemational AG ebay.com.sg 197
9 High Options Sdn Bhd ebay.com,my 197
10 eBay Inc. ebay.ph 197
3 eBay international Ac ebay-conrsg; cbay.comminy arm 588
CGNIC-ORG15280283 ebay:conph
1i9 Chan, Tat Hong takemetoasia.com 67
1240 {| SPH Magazines Pte Ltd luxury-insider.com, and 38

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herworldplus.com anc 18
3 Media Publishing Group Pte relax.com.sg 7
Lid
414 Singapore Press Holdings asigone,com and 3
Limited businesstimes.com.sp
15-14 | Hotels in Asia hoteisinasia.com.sg 50
1642 =| Advancecom Corporation Pte. | hotelbookingsg.com 120
Lid.
1743 | Lao Airlines laoaitlines.com 12
+4 Singapore Airlines Limited tigerairways.com, flyscootcom, 666
18 Singapore Airlines Limited siaholidays.com.au 12
19 Tiger Airways Holdings Pte. tigeralrways.com 246
Lid.
20 Scoot ‘Tigerair Pte Lid flyscoot.com and tigerair.com 408
2145 | Malaysian Airlines System Sdn fireflyhotiday-conrand 83
Bhd (MAS) malaysiaairlines.com 66
22+6 | Marvele Group Pte. Ltd. hotels.com.sg, getaways.com.sg 112
“ and resorts.com.sg
2317 | Travelogy.com Pte. Ltd. tripzilla.com 120
24 GOQUD Pte. Ltd. goquo.com 25
BB
25 Zuji Travel Pte, Lid. zuji.com.hk, zuji.com.sg and 540
Zaji.com
26 Zuji Pty Ltd Zuji.com.au 16]
27 Caerus Pte, Ltd, hotelsio.com 938
20
28 Christopher Noto christophernoto.com 17

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at
29 Pagoda House Gallery Pte. pagodahouse.com 1022
Ltd. (owned by Christopher
22 Noto)
Note:
1. This writ may not be served more than 6 calendar months after the above date unless renewed by
order of the Court.

2, To defend the claim, the Defendant(s) must enter an appearance(s)} using the electronic filing service
either personally or by a solicitor at the Registry of the SUPREME COURT and notify the (Plaintiff(s) /
Plaintiff's solicitors) accordingly within 8 days after service hereof, otherwise judgment may be entered
against him without further notice.

